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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                    Plaintiff,                                 8:02CR353

      vs.
                                                                 ORDER
BARRY RENFOLD COOLEY,

                    Defendant.


      This matter is before the Court on the Defendant’s pro se motion to reconsider

(Filing No. 784) filed under Federal Rules of Civil Procedure 59(e) and 4.

      IT IS ORDERED:

      1. The Defendant’s motion to reconsider (Filing No. 784) is denied; and

      2. The Clerk is directed to mail a copy of this order to the Defendant at his last

            known address.

      Dated this 19th day of October, 2012.

                                                BY THE COURT:

                                                s/Laurie Smith Camp
                                                Chief United States District Judge
